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   United States of America
 7
 8
 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-0322 MCE

13                                 Plaintiff,            MOTION FOR DISMISSAL OF INDICTMENT
                                                         WITHOUT PREJUDICE AND ORDER
14                          v.

15   ALEKSANDR MIKHAYLOV,

16                                Defendant.

17
18          Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States Attorney

19 for the Eastern District of California hereby moves the Court, in the interest of justice for an Order
20 dismissing without prejudice the Indictment in the above-entitled matter as to the above-captioned
21 defendant, Aleksandr Mikhaylov only.
22          Counsel for the defendant, Scott Tedmon, has been informed of this motion and has no objection

23 to the Court entering a dismissal without prejudice as to Aleksandr Mikhaylov.
24 Dated: June 2, 2015                                    BENJAMIN B. WAGNER
                                                          United States Attorney
25
26                                                   By: /s/ HEIKO P. COPPOLA
                                                         HEIKO P. COPPOLA
27                                                       Assistant United States Attorney

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       DISMISSAL MOTION & ORDER                          1
             Case 2:12-cr-00322-JAM Document 117 Filed 06/04/15 Page 2 of 2

 1                                              ORDER

 2        For the reasons stated above, IT IS HEREBY ORDERED that the Indictment in the above-entitled

 3 matter, Eastern District of California case number 2:12-CR-0322 MCE is DISMISSED without
 4 prejudice as to Aleksandr Mikhaylov only.
 5         IT IS SO ORDERED.

 6 Dated: June 3, 2015
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      DISMISSAL MOTION & ORDER                      2
